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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO


MINUTES OF PROCEEDINGS                                          Date: August 23, 2022

BEFORE JUDGE FRANCISCO A. BESOSA                                CIVIL NO. 12-2039 (FAB)

COURTROOM DEPUTY: Omar Flaquer-Mendoza

COURT REPORTER: Robin Marie Dispenzieri

COURT INTERPRETER: Sonia Crescioni

INTERPRETER FOR Defendants: Edna Brayfield

=====================================================================

UNITED STATES OF AMERICA

        Plaintiff,

v.

COMMONWEALTH OF PUERTO RICO, et al.

        Defendants.

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   In Person Status hearing held as ordered at ECF No. 2117. Hearing began at 10:00 a.m. and

ended at 11:50 a.m.

The following persons were present at this conference:

     1. Federal Monitor John Romero, and team:

        a. Denise Rodríguez, Chief Deputy Monitor

        b. Scott Gragg, Monitoring Core Team

        c. Merángelie Serrano, Monitoring Core Team


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      d. Alan C. Youngs, Monitoring Core Team

      e. Luis Hidalgo, Legislative Advisor for the Federal Monitor

      f. Javier González, Administrative Director of the Office of the Federal Police Monitor

      g. Roberto Abesada, General Counsel for the Federal Monitor.

   2. Special Master Dr. Alejandro Del Carmen, and team:

      a. Thomas D. Petrowski, Assistant Special Master

      b. Gary A. Loeffert, Second Assistant Special Master

   3. For Plaintiff, United States of America:

      a. Trial Attorney Luis Saucedo

      b. Trial Attorney Jorge M. Castillo

   4. For Defendants Commonwealth of Puerto Rico and the Puerto Rico Police Bureau:

      a. Counsel Gabriel A. Peñagarícano.

      b. Counsel Rafael E. Barreto-Solá

   5. Office of the Governor (“La Fortaleza”)

      a. María Del Mar Ortiz, Esq., Special Counsel to the Governor

    6. Office of Management and Budget (“OMB”)

      a. Pedro De Jesús, Chief Counsel and liaison on police reform matters

      b. Zulma Canales, Director of Fiscal Compliance

    7. Puerto Rico Innovation and Technology Service (“PRITS”)

      a. Enrique Volckers, Innovation Chief of Staff and Technology

      b. Nanette Martínez-Ortiz, Acting Information, and Innovation Officer (“CIIO”), and

Technology Officer (“CTO”) for the Commonwealth of Puerto Rico

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    8. General Services Administration (“GSA”)

          a. Edgardo González, Assistant Administrator for Service to the Agencies, and liaison on

police reform matters

    9. Office for the Administration and Transformation of Human Resources (“OATHR”)

          a. Gustavo Cartagena, Director

    10. Department of Public Safety (“DPS”)

          a. Hon. Alexis Torres, Secretary, and the Governor’s representative for police reform

matters

          b. Rafael Riviere, Deputy Secretary

          c. Arturo Garfer, Assistant Secretary

          d. Carlos Colón, Director, IT Office

          e. Miguel Candelario, Counsel to the Secretary

          f. Maceira Berríos, Executive Director, Office of Human Resources and Labor Relations

    12. Puerto Rico Police Bureau (“PRPB”)

          a. Antonio López, Commissioner

          b. Captain Carlos Figueroa, Director, Reform Office

          c. Karylín Díaz-León, Counsel, Reform Office

          d. Juan Carlos Rivera, Director of Information Technology

          e. Ángel Díaz, Director, Consultant IT Bureau

          m. Pedro Santiago, Counsel to the Commissioner, not present.

   13. FOMB

          a. Amaury Rodríguez, “Analyst” on Public Safety Matters

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        b. Elisa Guardiola, Budget Manager

        14. Captain José González-Montañez, President, “Asociación de Policías Organizados”

(APO)

        15. Hegrín Martínez-Martínez, Director Legal Office, OGP

        16. Commanders or Acting Commanders of all thirteen PRPB Regions

        17. Six members of the community

        a. Modesta Irizarry, Community Leader, Loíza, Puerto Rico

        b. Grisel Ortiz, “Oficina Entersesaría y Procuradoría de Personas con Impedimentos”

        c. Dr. María Del Pilar Rodriguez, “Representante Comunidad de Salud Mental,

Universidad de Puerto Rico, Humacao”

        d. José Rodríguez, Dominican Citizens Advocate

        e. Samuel Rivera, “Portavoz Comité Interacción Ciudadana de Bayamon”

        f. María Del Carmen Rosario, “Tercera Edad, Fajardo”

        Before going to the agenda scheduled for today’s hearing, the Court discussed the visit

made yesterday to the police academy. Additional fundings for renovations of the police academy

was discussed. Secretary Torres informed that, along with the fiscal board, he is in the process to

obtain the necessary funding for the renovations. Elisa Guardiola, Budget Manager, FOMB

informed that conversations for funding for renovations of the police academy have already been

held, but that no official written request has been submitted by the PRPB. The Court suggested
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that Ms. Guardiola or any other member of the FOAM to visit the police academy for them to see

the actual physical conditions of the police academy.

       The following topics pursuant to the Order Scheduling Status Conference, ECF No. 2117

were discussed:

       A. Discussion on PRPB’s and United States’ responses (submitted in July to the Court)

           to those expenditures charged to the Reform Budget identified by the Special Master.

           The United States informed that the Special Master identified 117 expenditures that

           appeared not to be related to the police reform. After being reviewed pursuant to the

           Court’s Order, 8 of the 117 expenditures were related to the reform, but the other funds

           appear not to have been related to the reform. The parties agreed that recommendations

           that were presented to the Court for its review to have the Puerto Rico Office of the

           Inspector General (PROIG) audit the remaining 109 expenditures. The Commonwealth

           and the United States were granted until September 2, 2022 to file a motion to confirm

           whether the Puerto Rico Office of Inspector General (PROIG) would be conducting the

           audits, or to provide names of any potential external auditor for the Court’s

           consideration as to how to proceed in this matter.

       B. Supervision Plan – Update on Puerto Rico Police Bureau efforts to promote

           Provisional Sergeants. It is expected that 250 permanent Sergeants be appointed by

           December 2022. Specific timeline for those promotions shall be submitted in the

           motion due on August 31, 2022. The United States, the Monitor and the Special Master

           were granted fifteen (15) days to review the plan to be submitted. Captain Figueroa

           explained the process that candidates have to follow to be considered for promotions
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   to Sergeant. Due date is October 1, 2022. Exam is set for November 1, 2022.

   Regulations on how the process is done was explained. By no later than December 1,

   2022 the parties shall inform the status of what has been done on the timeline for the

   procedure for promotions to permanent Sergeant.

C. PRPB’s results of implementation of its Interim use of Force Plan, specifically the

   accuracy of its June, 2022 use of force numbers as ordered by the Court. Monitor

   Romero informed the status of the results; the PRPB’s ability to validate its use of force

   numbers has been a reoccurring problem. Monitor Romero requested that the PRPB be

   given the opportunity to submit an update on the accuracy of the June 2022 Use of

   Force numbers. The Commonwealth agreed. Meetings among parties were previously

   held in preparation for today’s hearing and discussions were held to find ways on how

   the Registry of Use of Force should be improved. With the input given by the parties,

   a final Use of Force Plan should be ready to be submitted within thirty (30) days for

   the Court’s review and approval. Mr. Ben Horwitz from AH Datalytics made a

   presentation on how the data entered is analyzed and then processed.

D. Summary of the Monitor’s CMR-6 Report. Monitor Romero informed as to report

   filed on June 15, 2022 covering the period from October 2021 through March 2022.

   The Commonwealth submitted its position on the report, and findings made by the

   Monitor were not challenged.

E. Update by PRPB on the work performed and to be performed by Gartner and AH

   Datalytics relating to Information Technology. Scott Gragg, Monitoring Core Team,

   and Ben Horwitz from AH Datalytics informed the Court as to this matter. Work has

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   been divided into four tasks. Mr. Horwitz informed as to the work in progress

   concerning the collection of data.

F. Update by PRPB as the status of the forfeiture program (available funds) and

   PRPB’S current non-compliant status preventing it from accessing those funds.

   Special Master Del Carmen informed that the total amount of available funds is not

   known, but the Commonwealth is getting close to inform when those funds will be

   available. Secretary Torres has already designated personnel to help with the process

   of identifying those funds. Dr. Del Carmen suggested that a meeting and a timeline

   should be set to establish what should be done. The Commonwealth informed that the

   PRPB does not has access to those funds because of its failure to comply with the

   requirements for their disbursement. The United States should participate with the

   Commonwealth in the meeting to make those funds available. The United States

   informed that the Deputy Chief of the Money Laundering Section in the U.S.

   Department of Justice, who is the administrator of that section, placed the PRPD in

   non-compliance status because of discrepancies in the reports; hence disbursements are

   on hold. Parties are in the process to obtain a solution on what the Commonwealth has

   to produce to be able to be compliant. Secretary Torres requested thirty (30) days to

   clarify the discrepancies. The Court, after having heard the parties as to this topic,

   ordered the parties to submit an informative motion addressing this issue within the

   next thirty (30) days.




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G. As informed by Secretary Torres and Ms. Guardiola, about $17 million of other funds

   have been deposited with the PRPB, and additional funds are in the process to be

   deposited.

H. Update by the Special Master on the progress made on the Police Reform Office

   Review. Special Master Del Carmen informed that several persons around the country

   that are in charge of reform offices in the various consent decrees, and people from the

   DOJ, the Office of the Monitor, and several persons within the PRPB have been

   interviewed. A report will be submitted on or before the deadline previously set.

I. Status of the Regulation and all information on the matter related to hiring 18-year-

   old cadets (Discussed at the recent “253 Meeting”). All the cadets that began training

   yesterday, have completed an Associates Degree before entering the academy. If the

   new plan is approved, cadets who do not have an Associates Degree will be allowed to

   enter the Academy, but to become sworn officers, cadets must have Associates

   Degrees. Agreements have to be made with universities who offer courses in criminal

   justice to coordinate with the Academy to make sure that courses that are given at the

   Academy or the Universities would count as credits for an Associates Degrees.

   Comments should be submitted within sixty (60) days.

J. Pilot CIT Program in Arecibo. There is a deadline for the Commonwealth to produce

   the evaluation report from the board which includes members not from PRPB. Report

   is due August 29, 2022. Captain Figueroa informed that it may take a month to train

   other persons in other regions to have a similar program.

Finally, the following persons from the community were allowed to address the Court:
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1.   Modesta Irizarry, Community Leader, Loíza, Puerto Rico

2.   José Rodríguez, Dominican Citizens Advocate

3.   Samuel Rivera, “Portavoz Comité Interacción Ciudadana de Bayamón”

4.   María Del Carmen Rosario, “Tercera Edad, Fajardo”

5.   Grisel Ortiz, “Oficina Entersesaría y Procuradoría de Personas con Impedimentos”




                                            S/ Omar Flaquer-Mendoza
                                            Omar Flaquer-Mendoza
                                            Case Manager/Courtroom Deputy Clerk to
                                            Hon. Francisco A. Besosa,
                                            Senior U.S. District Judge




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